      Case 2:18-cr-00031-WFN         ECF No. 246    filed 06/01/21    PageID.3744 Page 1 of 1


                                                                                     FILED IN THE
                                                                                 U.S. DISTRICT COURT
                                                                           EASTERN DISTRICT OF WASHINGTON

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                                                                            Jun 01, 2021
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                                                                                SEAN F. MCAVOY, CLERK

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 4                                 UNITED STATES DISTRICT COURT
 5                               EASTERN DISTRICT OF WASHINGTON
 6   MIKHAIL YURIY AGEYEV,
                                                           No.       2:18-CR-0031-WFN-1
 7                                 Movant,
                                                           ORDER ON § 2255 MOTION
 8              -vs-
 9   UNITED STATES OF AMERICA,
10                                 Respondent.
11
12              Before the Court is Movant's Writ of Habeas Corpus 28 U.S.C. §2254 / 28 U.S.C.
13   § 2255. ECF No. 239. The Motion is submitted by Mr. Ageyev, who is appearing pro se
14   in these proceedings. Mr. Ageyev filed a motion challenging his guilty plea and arguing
15   ineffective assistance of counsel. Due to the form of the motion, the Court invited Mr.
16   Ageyev to re-submit his motion making clear the specifics of his claims. The Court set a
17   deadline that has long since elapsed.           Mr. Ageyev has not availed himself of the
18   opportunity to amend his Motion. The Court has reviewed the file and Movant's Motion
19   and is fully informed. Accordingly,
20              IT IS ORDERED that Movant's Writ of Habeas Corpus 28 U.S.C. §2254 / 28
21   U.S.C. § 2255, filed February 28, 2021, ECF No. 239, is DENIED AS MOOT.
22              The District Court Executive is directed to file this Order, provide copies to counsel
23   and pro se Movant; and CLOSE the corresponding civil file, 2:20-CV-0084-WFN.
24              DATED this 1st day of June, 2021.
25
26
                                                        WM. FREMMING NIELSEN
27   05-26-21                                    SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER ON § 2255 MOTION
